                       UNITED STATES DISTRICT COURT                               Motion GRANTED.
                   FOR THE MIDDLE DISTRICT OF TENNESSEE                           Hearing reset for
                            NASHVILLE DIVISION                                    11/8/13 at 10:00 a.m.

     UNITED STATES OF AMERICA                      )
                                                   )
                                                   )
     V.                                            )      Case No. 3:11-00082
                                                   )      Judge Trauger
                                                   )
     JONAS LAVAR HAYES                             )



                 MOTION TO CONTINUE SENTENCING HEARING

            Comes now the defendant, Jonas Lavar Hayes, by and through counsel of

     record, David R. Heroux, and moves this Honorable Court to continue the

     Sentencing Hearing in the above styled matter currently set for September 27,

     2013. The defendant has been authorized to represent to the Court that the

     Government has no objection to this motion. In support of this motion the

     defendant has filed an affidavit of counsel under seal.


                                                   Respectfully submitted,

                                                   Haymaker & Heroux, P.C.


                                                   s/ David R. Heroux
                                                   David R. Heroux,      BPR 20798
                                                   Attorney for the Defendant
                                                   943 Main Street
                                                   Nashville, Tennessee 37206
                                                   (615) 250-0050




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